a

7
&
9
1

1a

o

 

iQ
id

 

 

Case 1:05-cv-00377-WDM-BNB Document 167-8

41112008 Markovehick, Vince

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CGLORADG

Case No. O5-CV-377-NDM-BNB

 

DEPOSITION OF: VINCE MARKOVCHICK, M.D.
April 11, 2006

 

MOISES CARRANZA-REYES,

Plaintiff,

Vv.

PARK COUNTY, a public entity of the State of Colorado
and its governing board, THE PARK COUNTY BOARD OF
COUNTY COMMISSIONERS; PARK COUNTY SHERIFF'S OFFICE, a
public entity of the State of Colorado; FRED WEGENER,
individually and in his official capacity as Sheriff
of Park County, Colorado; MONTE GORE, individually
and in his capacity as Captain of Park County Sheriff's
Department; VICKIE PAMLSEN, individually and in her
official capacity as Registered Nurse for Park Ununty,
Colorado; JAMES BACHMAN, M.0., individually and in
his official capacity as Medical Director of the

Park County Jail,

Defendants.

 

 

vathin Colorade.

4/14/2006 Markovchick, Vince

SPEESRANCES

 

 

Por the Plaintitg: WILLIAM A. TRINE, Eso.
Trine & Hetcaif, Pt.
1435 Arapahoe Avenue
Boulder, Colorado 80302

JOSEPH J. ARCHULETA, ESO.

Law Office of Joseph J. Archuleta
1724 Ogden Street

Tenver, Colorado 80216

For the Defendants GILLIAN DALE, BSG.

Park County, Park Hall & Evans, ic
County Board of ib25 l?th Street
Commissioners, Park Suite 6a6
County Sheriff's Denver, Colorado 80202
office, Hegener and
Gore:
For the befendant HWELANIE B, LEWIS, ESO,
Pautsen: Herg Hill Greenleat
& Ruseitti LLP
lyk? Peart Street
Houlder, Coloradg §0302
For the Defendant ANDREW Wi. JURS, ESQ.
Rachnan: Johnson, HcConaty & Sargent, P.C.
40g South Cotorado Boulevard
Suite OM
Glondale, Colorado su2dé
Also Present: None

Filed 02/15/07 USDC Colorado Page 1 of 3

uw

on

Lo
hl

2
13

 

 

 

io

il

4/11/2006 Markovchick, Vince

INDEX
EXAMINATION OF VINCE MARKOVCHICK, H.D. PAGE
April 11, 2006

By Mr. Trine 41

By Mr. Archuleta -

By Ms. Dale 3
By Hs. Lowis 48
By Mr. Furs 4, 47
INITIAL
DEPOSITION EXHIBITS: REFERENCE
39 Denver Health Medical Center 5
Emergency Department records,
3/8/03

(Originals exhibils attached to original
deposition; copy exhibits included in continuing
exhibit file; copies provided to counsel as
requested.}

REQUESTED PORTIONS OF TESTIMONY: PAGE

Request for document production --
or information

Certified question as
Instruction not te ansuer 7
other requests or marked

 

 

REFERENCES

Hone.)

471112006 Markovchick, Vince

WHEREUPON, the within proceedings were
taken pursuant to the Federal Bules of Civil
Procedure:

(Deposition Exhibit 39 was marked.)

VINCE MARKOVCHICK, M.D.,
having been first duly sworn to state the whole
bruth, was examined and testified as follows:
EXAMINATION
BY MR, JOURS;

QO. Sir, my name is Andrew Jurs, and I
represent De. James Bachman in this Litigation, and
Wwe mek off the record, bul T Wanted Lo reintroduce
myself. 1 aise wanted to thank you for your time
teday, because you made yourself available so
quickly, and that's extremely convenient for us,
and I wanted to thank you on behalf of the
litigation.

Could you please state your full name

for the record.

   

A. Vincent John Markovchick.
QO. And what is your business address, sir?
Ay Department of yoredicine, Denver

   

Kealth, 777 Bannock Street, Denver, 82id,

{before in a legal

ae

 

QO. Have you no depo

 

setting like this?

Paulsen’s A-23

 

 
10

11

l2

 

 

5

Case 1:05-cv-00377-WDM-BNB Document 167-8

4f11/2006 Markovchick, Vince

Q. [I'm sorry, Doctor. I'm not trying to
interrupt you. I'm trying to let you finish.

A. I'm sorry,

Q. And I apologize. Are you able to
determine what time the chest X-ray was taken to
make the diagnosis?

A. II would -- no, because [ don't have the
chest &-ray report. Although we intubated the
patient, and we would have gotten a portable chest
X-ray right after intubation, and it looks like we
intubated the patient at -- we gave the first
medication for rapid sequence intubalion at 1835,
He would have been intubated then within five
minutes, 1840,

So the chest X-ray would have been done
at 1845, unless we had ordered a chest K-ray when
he First arrived, We may have done that, I don't
know, But -- because you didn't give me any of the
a-ray radiology reports. So I don’t know if there
was one When he first arzived of this X-ray that
Fl comnenking on was after oe intubated him,

Oo Okay, Thank you, you

  

any

A. Webl, l'in sure 1 Would have apoken to

4/11/2006 Markovchick, Vinco

him when we inoved -- when | became aware of hit and
he was critical, at least to explain te him what we
were going te de, because il's pretty scary to ——-
we put him to sleep basically, then paratyze hin
and then intubate him. So I'm sure 1 had spoken to
Him then. I don't recall taking any history
personally from the patient.

QO. Okay,

AY Ihe resident ciearly did get some
history from the patient prior to us having to put

@ tube in to breathe for him.

Qo. And that's on page OOSL?
Ae Correct,
QO. And whe is the resident in this

particular case?
A It was Br. Kelli Mitchusson, whe ak that
time was one of our junior emergency medicine

residents.

Q. Ts that he or she?

A. She.

G. Do you Knew if she speaks Spanish?

A You know, a tot Gf our residsnts da, anc

i'm not certain if Dr. Mitchussen was one of Lhose.

 

   

ah If a physician in the emergen

or doesnt

  

department either dees net speak Sparish

26

Filed 02/15/07 USDC Colorado Page 2 of 3

10

ll

15

16

17

41/2006 Markovchick, Vince

feel proficient enough to converse in it, how is
that handled in your department?

A, Well, we -- we either find another
physician who does -- 4 tredical student who speaks
Spanish or a nurse who speaks Spanish. And if we
don't have any —- any medical caregiver who speaks
Spanish who can help us translate, then we have --
we -- part of a day we have a Spanish-speaking
transkator in the emergency department, or we can
always use the language line, which is a phone

translation service.

Q. So on page 51 Dr, -- Mitchusson?

A Yos.

Q. She wrote, All the decuments are ~--
strike thak -- the words under Subjective,

Objective, ED course, final Eb assessment and

discharge plan?

 

 

BR. Correct.

Q. is your handwriting below Lhat, At the
time patient left Eu, condition in #L and -- at the
bottom?

A. Yes. I-- t's at the bakbon,
and -— all ou
woos.

G AE the motton of Gi, at the Lime the

27

4/14/2006 Markovchick, Vince

patient left and final patient condition, Were
those twa filled out hy you?

Aa J] believe those were filled out by br,
Mitchusson. And it looks like -- let mo see. If
looks Like we may have filled oul -~ of IT may have
filled out the admit when he firsl arrived,
hecause -- and the reason [ say that is because I
initially checked "serious."

oO. Uin+ hus.

A, That would have been when he was in the
back -- when he vas in the reguiar treatment room.
We clearly sav somebody who was very sick with
Pneurnonia whoa needed Lo go to the ICU but was not
deemed to be, you know, absolutely critical. And
Ehen when he deteriorated, I clearly changed and
downgraded his condition from serious to crikical

both on the -- E£ think I did that on the front

 

sheet as Well as the admitting sheet, ich is on
0058,

Q. Se it's your opinion that you filled ouk
the order for admission sometime before 6:10 pim,
anc --

diled Ehak oul

my

Oo. -- and ab that

 

initially, you felt tne patient was very sick with

28

 

 
 

24

no
wn

12

14

16

 

Case 1:05-cv-00377-WDM-BNB Document 167-8

4/11/2006 Markovchick, Vince

CERTIFICATION

i, REBECCA S. TAFOYA, RPR, appointed Lo

take the depasition of

VINCE MARKOVCHICK, M.D.,
certify that prior to the deposition the wilness
was sworn by me to testify to the truth; that the
deposition was taken by me at 660 Bannock Street,
Denver, Colorado 80204 on April Jl, 2006; that Lhe
proceedings were reduced to typewritten form by
computer-aided transcription consisting of 52 pages
herein; that the foregoing is an accurate
transcript of the proceedings.

TI certify review of the transcript was
requested on the record.

i further cerLify i am not related fo
any party herein or their counsel and have no
interest in the resuit of this Litigation.

IN WITNESS WHEREGF, IT have hereunto set

my hand this 21st day of April, 2006

 

   

 

 

 

 

 

 

  

49
41/2006 Markovchick, Vince
5S .GNATURE oF WITWER S 3
I, VINCE MARKOVCH(ICK, M.U., do hereby
certify that I have read the foregoing deposition
and that the foregoing transcript anc accompanying
change sheets, if any, constitute a true and
complete Eranscript of my testimony.
VINCE MARKOVCHICK, MD.
Bate Read and Signed: .
SUBSCRIBED AND SHORN TO before me this
day of
{ } No changes {( } Changes attached
NOTARY PUBLIC
Address; _.
My commission expires:
Re; Carranza-Reyes v. Park County, ef al.
Tahe of Bepasition: April 14, &
Trial Date: Tone set
Volume:
Reporter: &T
Proofer: MAH
5

Filed 02/15/07 USDC Colorado Page 3 of 3

SW

la

il
2
id

 

“
id
li

12
13

15
16
7
15

 

 

4/11/2006 Markovchick, Vince

COFFMAN REPORTING & LITIGATION SUPPORT, INC.
1440 Blake Streel, Suite 320
Denver, Colorado 80202
303,.893,0202

April 21, 2006

WILLTAM A. TRINE, ESQ.
Trine & Metcalf, P.C,
1435 Arapahoe Avenue
Boulder, Colorado 80302

Re: Carranza-Reyes v, Park County, ck ai.
Deposition of: VINCK MARKOVCILICK, M.D.
Date of Deposition: April 11, 2006

Trial Date: Mone set

Dear Mr. Trine:

Enclosed is the original siqnature page of the
above deposition. Fk was agreed you would arrange
for the witness's signature with your copy of the

transcript.
Fisendment sheets are included, After the signature
bage and amendinent shaats are signed, please have

both notarized and return for filing. ,

to this office within 30 days pursuant
Lo Rule 36.

your prompt attention fo this matter

 

 

 

41
4/11/2006 Markovchick, Vince
COPEMAN REPORTING & LETIGATION SUPPORT, ENC.
3440 Hkake Slreek, Suite 320
Penver, Cotoradoa 930202
303.893.0202

ANDREW W, JURS, ESQ.

Johnson, MeConaty & Sargent, P.c.

40 South Colorado Boulevard

Suite 90

Glendale, Colorado 0246

Re; Carranza-Royes v. Park County, et al.

Depesition of: VINCE MARKOVCHICK, H.b.

Date of Depesition: Aprit 11, 2006

Trial Date: Hone set

Enclosed is:

{  } ORIGINAL TRANSCRIPT. Please retain unopened
original until it is required by any party in
a trial or hearing in the above matler,

{  ) ORIGINAL SIGNATURE PAGE
_ with without corrections; copies
provided to attending cotimsel. Please append
these sealed originals to original transeript
in your possession.

{ ) No signature or correction sheets received.

! } Review of transcript not requested.

{oo} 3-day revi unavailable, Signature/
cerreclion pages forwarded te counsel handling
signature, Original filed in anticipation of
triak dale. See letter within deposition.

( ) Copy of deposition, signature and correction
pages sent to deponent. See letter within
denosition,

i Signature not applicable

‘rigital Tralscript filed on _ via

Follow-up documentation Ziled on | wia

cot Athending counsel

52

 

 
